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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

 LARRY MOSES                                         )
                                                     )
                   Plaintiff,                        ) Civil Action No. 2:24-cv 01768-BWA-KWR
             v.                                      )
                                                     ) Judge Barry W. Ashe
 CITY OF NEW ORLEANS, et al.                         ) Magistrate Judge Karen Wells Roby
                                                     )
                   Defendants.                       )
                                                     )
                                                     )

                          MOTION FOR ADMISSION PRO HAC VICE
                                 FOR DAVID B. OWENS

        NOW COMES William Most, a member of the bar of this Court and counsel of record

for Plaintiff Larry Moses, seeking an order permitting David B. Owens, Esq., of Loevy & Loevy,

to enter his appearance for Plaintiff Larry Moses.

        Pursuant to Local Rule 83.2.5, attached hereto as Exhibit 1 is a recent certificate of good

standing for David B. Owens from the Supreme Court of the State of Washington; attached as

Exhibit 2 is the declaration of David B. Owens; and attached as Exhibit 3 is the completed

Consent to Electronic Filing Form.

        WHEREFORE, William Most respectfully requests that this Court enter an order

granting David B. Owens permission to enter his pro hac vice appearance and to appear as co-

counsel for Plaintiff.

Dated: July 17, 2024

                                                      Respectfully submitted,

                                                      /s/ William Most
                                                      William Most, La. Bar No. 36914
                                                      Caroline Gabriel, La. Bar No. 38224
                                                      MOST & ASSOCIATES

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